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10 Attorneys for United States of America

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                   )   Case No. CR 18-258 EJD
                                                 )
15           Plaintiff,                          )   EX PARTE APPLICATION FOR IMMUNITY
                                                 )   ORDER (WITNESS: SUREKHA
16      v.                                       )   GANGAKHEDKAR)
                                                 )
17   ELIZABETH HOLMES,                           )
                                                 )
18           Defendant.                          )
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     EX PARTE APPLIC. RE IMMUNITY ORDER
     CASE NO. CR-18-258 EJD
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 1          STEPHANIE M. HINDS, Acting United States Attorney for the Northern District of California,

 2 hereby applies for an order compelling Surekha Gangakhedkar to testify and provide other information

 3 before the trial jury in this matter, pursuant to Title 18, United States Code, Sections 6002 and 6003, and

 4 respectfully alleges as follows:

 5          l.      The witness, Surekha Gangakhedkar, has been subpoenaed to appear and testify and

 6 provide other information in connection with the trial of this matter.

 7          2.      Counsel for this witness has stated that she will instruct her client to invoke her privilege

 8 against self-incrimination under the Fifth Amendment when she appears to testify.

 9          3.      It is the judgment of the Acting United States Attorney for the Northern District of

10 California that the testimony and other information to be provided by said witness concerning the

11 matters at issue in the trial is necessary to the public interest of the United States.

12          4.      This application is made in good faith with the approval of the Deputy Assistant Attorney

13 General, United States Department of Justice. (See the Attachment to this Application.)

14 DATED: September 10, 2021                                       Respectfully submitted,

15                                                                 STEPHANIE M. HINDS
                                                                   Acting United States Attorney
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18                                                                 HALLIE HOFFMAN
                                                                   Chief, Criminal Division
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     EX PARTE APPLIC. RE IMMUNITY ORDER
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  ATTACHMENT
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                                                          U.S. Department of Justice

                                                          Criminal Division


Office of the Assistant Attorney General                  Washington, D.C. 20530




Stephanie Hinds
Acting United States Attorney
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Attention:            Robert S. Leach
                      Assistant United States Attorney

           Re:        United States v. Elizabeth Holmes

Dear Ms. Hinds:

         Pursuant to the authority vested in me by 18 U.S.C. § 6003(b) and 28 C.F.R. § 0.175(a), I
hereby approve your request for authority to apply to the United States District Court for the
Northern District of California for an order, pursuant to 18 U.S.C. §§ 6002-6003, requiring
Surekha Gangakhedkar to give testimony or provide other information in the above matter and in
any further proceedings resulting therefrom or ancillary thereto, provided that she refuses to
testify or provide information on the basis of the privilege against self-incrimination.




                                                          Amanda N. Liskarnm
                                                          Acting Deputy Assistant Attorney General
